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UMTED sTA TES DISTRICT CO URT
WESTERN DISTRICT OF TENNESSEE

 

 

EASTERN DIVISION
cURTIS GREEN, JUDGMENT IN A CIVIL CASE '
Plainnff,
V.
CoRREcTIoNs CoRPoRATIoN cAsE No= 1=02-1202-13
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

I'I` IS SO ()RDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on .Iuly 6, 2005, this cause is hereby dismissed With prejudice.

OVED:

 

 

D NIEL BREEN
N ED STATES DISTRICT COURT

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`I'HCNASH.GDULB

Clerk of Court

Qg£w

(By) Deputy Clerk

This document entered on the docket sheet in compliance

With Fiu}e 58 and,'or_79 (a} FFtCP on 2

 

F TENNESSEE

Notice of Distribution

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Honorable J. Breen
US DISTRICT COURT

